
Herrick, J.
This case arises out of the same accident as did the case of Fanny Leopold against the defendant, reported in 66 Hun, 628 ; 49 St. Rep. 459, and while some additional witnesses testified in this case, I do not see that the facts are substantially different from what they were in the case of Fanny Leopold. In this case, as in that, there was a conflict of evidence both upon the question of the plaintiff’s freedom from contributory negligence and upon the question as to whether the defendant was guilty of negligence; and there was evidence in the case from which the jury mightinferthe plaintiff’s freedom from contributory negligence and the defendant’s negligence. The case was fairly submitted to the jury by the court. I can see no error in the charge calculated to prejudice the rights of the defendant. Judgment should be affirmed, with costs. AH concur.
